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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                                   Case No. 1:00-CR-51

v.                                                         HON. ROBERT HOLMES BELL

ARNOLDO CANO-FAVELA,

            Defendant.
____________________________________/


                           MEMORANDUM OPINION AND ORDER

       Defendant Arnoldo Cano-Favela has filed a motion for modification or reduction of sentence

(ECF No. 156) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United

States Sentencing Guidelines, made retroactive by the Sentencing Commission.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

       The Probation Department filed a sentence modification report on November 3, 2015 (ECF

No. 177). In its report, the probation department recommended the defendant is eligible for

reduction in sentence based on defendant currently being an inmate, USSG § 2D1.1 was used in the

guideline calculations, and the guideline range applicable to the defendant subsequently has been
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lowered as a result of the retroactive amendment to the Sentencing Guidelines (782). A reduction

of sentence is consistent with the policy statements of the U.S. Sentencing Commission. The parties

have filed a stipulation (ECF No. 179) concurring with the probation department’s recommendation

for a sentence reduction.

       NOW THEREFORE, IT IS HEREBY ORDERED that Defendant's motion for modification

of sentence (ECF No. 156) pursuant to 18 U.S.C. § 3582(c)(2) is GRANTED. Defendant Arnoldo

Cano-Favela's sentence shall be reduced to 235 months imprisonment. The length of the term of

supervised release, all conditions of supervision, fines, restitution, and special assessments, remain

as previously imposed. An order effectuating the sentence reduction shall issue forthwith.




Dated: November 16, 2015                          /s/ Robert Holmes Bell
                                                  ROBERT HOLMES BELL
                                                  UNITED STATES DISTRICT JUDGE
